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 8
                                       UNITED STATES DISTRICT COURT
 9
                                      NORTHERN CALIFORNIA DISTRICT
10
        AGUSTIN MERODIO,                                       Case No. 21-CV-00083-WHO
11
                                 Plaintiff,                    [PROPOSED] ORDER TO DISMISS ACTION
12                                                             WITH PREJUDICE
        vs.
13                                                             Complaint Filed: January 6, 2021
        BECKSTOFFER VINEYARDS
14
                                 Defendants.
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               Good cause appearing, and the parties having stipulated and agreed,
19
               IT IS HEREBY ORDERED that the parties’ Joint Stipulation to Dismiss the Action with
20
     Prejudice Pursuant to Federal Rule of Civil Procedure 41(a)(1) is GRANTED.
21
               IT IS FURTHER ORDERED that the action be dismissed with prejudice.
22
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
23

24
     Dated: October 20, 2021                                 ______________________________________
25                                                           HONORABLE JUDGE WILLIAM H. ORRICK
                                                             UNITED STATES DISTRICT JUDGE
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                                               Stipulation to Dismiss Action
